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                                      SETTLEMENT AGREEMENT AND RELEASE

                  This Settlement Agreement and Release (“Agreement”) is made and entered into by and
            between, on the one hand, MIGDALIA MARTINEZ (“Plaintiff”) and, on the other hand, ACHIM
            IMPORTING COMPANY, INC. and MARTON GROSSMAN (collectively, “Defendants”)
            (Defendants and Plaintiff collectively, the “Parties” and each party a “Party”).

                   WHEREAS, on or about July 13, 2021, Plaintiff initiated legal action against Defendants
            in the United States District Court for the Eastern District of New York (the “Court”), entitled
            Martinez v. Achim Importing Company, Inc., et al., 21-cv-03961 (ENV)(SJB) (the “Action”), in
            which Plaintiff alleged violations of Title VII of the Civil Rights Act of 1964, the Pregnancy
            Discrimination Act of 1978, the New York State Human Rights Law, and the New York City
            Human Rights Law; and,

                    WHEREAS, on or about October 1, 2021, Plaintiff filed an Amended Complaint that
            withdrew her discrimination claims and interposed claims under the Fair Labor Standards Act
            (“FLSA”) and the New York Labor Law (“NYLL”) for unpaid wages and record keeping
            violations; and,

                   WHEREAS, in the Amended Complaint, Plaintiff has alleged, among other things, that
            Defendants failed to pay her overtime wages due in connection with services that she performed
            on Defendants’ behalf and failed to provide her with wage notices and wage statements; and,

                    WHEREAS, Defendants deny all liability and all allegations of wrongdoing made by
            Plaintiff and the Court has not made any findings with respect to the merits of any of the claims
            asserted in the Complaint, Amended Complaint, or otherwise; and,

                     WHEREAS, the Parties desire to resolve all disagreements between them, including those
            asserted in the Action, in an amicable manner without the expense and aggravation of further
            litigation and without admission of liability or wrongdoing by anyone;

                   NOW, THEREFORE, with the intent to be legally bound, and for good and valuable
            consideration, the sufficiency and receipt of which the Parties acknowledge, the Parties agree as
            follows:

                     1.      Consideration: The Parties are entering into this Agreement in exchange for good
            and valuable consideration. Plaintiff agrees that she will not seek any further consideration from
            Defendants, including any monetary payment, beyond that which is set forth in Paragraph 2 below,
            in relation to the released claims in Paragraph 3 below. In addition, Plaintiff agrees that the amount
            being paid to her represents all alleged unpaid overtime and other alleged damages relating to her
            FLSA and NYLL claims from the commencement of her employment with Defendants to the
            present, including interest, monetary penalties, liquidated damages, and attorneys’ fees and costs.




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                     2.      Settlement Amount and Payment:

                            a.      As a full settlement and final satisfaction of the FLSA and the NYLL claims
            that Plaintiff has, had, or may have against Defendants, and in consideration for the agreements
            and obligations set forth herein, including, but not limited to, the limited release set forth in
            Paragraph 3 below, Defendants agree to pay Plaintiff the total sum of Ten-Thousand Five-Hundred
            Dollars and Zero Cents ($10,500.00) (“Settlement Amount”) within fourteen (14) days of the Court
            granting Plaintiff’s Motion For Settlement Approval of a Fair Labor Standards Act Case (“Motion
            for FLSA Settlement Approval”) and receipt of all appropriate documents described in paragraph
            2(c) as follows:

                                      i.      a check made payable to “MIGDALIA MARTINEZ” in the gross
                                              amount of Three-Thousand One-Hundred Ninety-Seven Dollars and
                                              Seventy-Three Cents ($3,197.73), representing payment of alleged
                                              unpaid wages and statutory damages, from which appropriate
                                              federal and New York state tax withholdings and deductions will be
                                              made. The Parties agree that Defendants shall report such amount as
                                              income on an IRS Form W2;

                                      ii.     a check made payable to “MIGDALIA MARTINEZ” in the total
                                              amount of Three-Thousand One-Hundred Ninety-Seven Dollars and
                                              Seventy-Four Cents ($3,197.74), representing payment of liquidated
                                              damages, statutory damages, and interest. The Parties agree that
                                              Defendants shall report such amount as income on an IRS Form
                                              1099 with box number 3 checked;

                                      iii.    a check made payable to “NEIL H. GREENBERG &
                                              ASSOCIATES, P.C.” in the amount of Four-Thousand One-
                                              Hundred Four Dollars and Fifty-Three Cents ($4,104.53),
                                              representing attorneys’ fees and disbursements, to be reflected on an
                                              IRS Form 1099.

                         b.     The payment set forth in this Paragraph shall be delivered to Neil H.
            Greenberg & Associates, P.C., 4242 Merrick Road, Massapequa, New York 11758.

                           c.     Prior to Plaintiff submitting her Motion for FLSA Settlement Approval,
            Defendants shall receive a fully executed IRS Form W-4 and IRS Form W-9 from Plaintiff and a
            fully executed IRS Form W-9 from Plaintiff’s attorneys.

                            d.     Plaintiff agrees and affirms that the Settlement Amount described in this
            Paragraph shall constitute the entire amount of monetary consideration provided to Plaintiff and
            Plaintiff’s legal counsel, and is inclusive of any claim for attorneys’ fees, costs, interest, and/or
            other expenses. Except as provided in this Agreement, no other payments are owed to Plaintiff
            relating to her FLSA and NYLL claims.

                           e.    Defendants agree that the Court may retain jurisdiction over this Action to
            enforce this Agreement and the payment set forth in this Paragraph.



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                    3.      Release of All Fair Labor Standards Act and New York Labor Law Related
            Claims: Plaintiff understands and agrees that the Settlement Amount is in full satisfaction of any
            and all obligations Defendants may have with respect to Plaintiff’s claims for alleged unpaid
            overtime wages, regular wages, liquidated damages, statutory penalties, interest, and attorneys’
            fees and disbursements under the wage and hour provisions of the FLSA, the NYLL, and any other
            applicable wage and hour payment laws, rules, or regulations for anything that has occurred up to
            the Effective Date (as defined in Paragraph 11 below) of this Agreement. Plaintiff hereby
            completely releases all wage and hour claims against Defendants, including Defendants’
            predecessors, successors, divisions, subsidiaries, parents, corporations under common ownership
            or control, and their current and former owners, principals, shareholders, officers, directors,
            employees, heirs, executors, administrators, successors, and/or assigns, both individually and in
            their business capacities (collectively referred to as “Releasees”), and releases and forever
            discharges Defendants and Releasees with prejudice to the fullest extent permitted by law from all
            actions, claims, and/or causes of action which Plaintiff, including her heirs, administrators,
            executors, successors and/or assigns, may now have or hereafter can, shall, or may have against
            Defendants and Releasees from the beginning of time up to and including the day of the date of
            this Agreement for any alleged violation of the FLSA, 29 U.S.C. § 201 et seq., the NYLL, and
            their respective governing regulations.

                    4.      Third-Party Beneficiary: Defendants agree and acknowledge that Neil H.
            Greenberg & Associates, P.C. is an Intended Third-Party Beneficiary of this Agreement and is
            entitled to the rights and benefits of that portion of the Settlement Amount allocated to Neil H.
            Greenberg & Associates, P.C. in Paragraph 3 above, and may enforce the provisions of this
            Agreement as if it were a party hereto. If Defendants breach Paragraph 2 above as it pertains to
            that portion of the Settlement Amount allocated to Neil H. Greenberg & Associates, P.C., as
            determined by a Court of competent jurisdiction, Neil H. Greenberg & Associates, P.C. will be
            entitled to seek that portion of the Settlement Amount allocated to it as described therein and shall
            be entitled to reasonable attorneys’ fees and costs incurred in enforcing its rights under this
            Agreement, provided that Neil H. Greenberg & Associates, P.C. is a prevailing party.

                    5.     Covenant Not to Sue: Plaintiff agrees not to file a lawsuit or commence any other
            legal proceeding against Defendants and/or Releasees concerning any matter released in this
            Agreement. If Plaintiff breaches this Paragraph, as determined by a Court of competent
            jurisdiction, Defendants will be entitled to seek recovery of their costs, including reasonable
            attorneys’ fees, relating to Defendants’ enforcement of this Agreement and/or defense of such
            claims, provided that Defendants are a prevailing party.

                    6.       Filing of Stipulation of Dismissal with Prejudice: Defendants hereby authorize
            their counsel to execute a Stipulation of Dismissal with Prejudice on their behalf, which will be
            held in escrow by Plaintiff’s counsel until this Agreement receives judicial approval. Plaintiff
            hereby authorizes her counsel to execute the Stipulation of Dismissal with Prejudice on her behalf
            and file it with the Court upon receiving such approval.

                    7.     Taxes: On or about January 31, 2023, Plaintiff shall receive from Defendants and
            Defendants shall file with the Internal Revenue Service an IRS Form W-2 and an IRS Form 1099
            for the Settlement Amount reflecting payment to Plaintiff of that portion of the Settlement Amount
            which was received by her in the prior calendar year. Plaintiff expressly acknowledges and agrees


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            that she is responsible for the payment of all federal, state, and local taxes, if any, that is required
            by law to be paid by her with respect to the Settlement Amount in Paragraph 2 above. Plaintiff
            acknowledges and assumes all respective responsibility for paying those amounts, if any, except
            for Defendants’ portion of FICA and/or FUTA, if any. Plaintiff acknowledges that she has not
            received any tax advice, other than to seek advice from a tax professional, from any party or
            attorney appearing in this Action.

                     8.     No Admission of Liability: Neither this Agreement nor anything contained herein
            constitutes or is intended to constitute any finding of fact, admission of liability, or assessment of
            liability by Defendants under any law, ordinance, rule, regulation, policy, or order with respect to
            any claim that Plaintiff has asserted, could have asserted, or may assert in connection with
            Plaintiff’s employment with Defendants. Defendants have consistently denied, and continue to
            deny, each and every allegation of wrongdoing made by Plaintiff, and have agreed to enter into
            this Agreement for the sole purpose of avoiding the cost and inconvenience of further litigation.

                     9.      No Pending Claims: Plaintiff hereby represents that other than this Action, she has
            no other pending actions (either jointly or individually), administrative charges or complaints,
            grievances, or arbitrations involving the released claims against any of the Parties with any federal,
            state, or local administrative agency, judicial tribunal, arbitration tribunal, or otherwise.

                    10.      Choice of Law and Forum: This Agreement shall in all respects be interpreted,
            enforced, and governed in accordance with and pursuant to the laws of the State of New York,
            without regard to conflicts of law principles. Any dispute, claim, or cause of action arising out of,
            or related to, this Agreement shall be commenced only in a court of competent jurisdiction located
            in Kings County, New York or the United States District Court for the Eastern District of New
            York. Such courts shall have exclusive jurisdiction over such claim, dispute, or disagreement, and
            the Parties consent to the personal jurisdiction of those courts. The parties expressly waive the
            right to a jury trial in any dispute, claim, or cause of action arising out of, or related to, this
            Agreement.

                    11.     Effective Date: This Agreement shall become effective as of the date the Court
            grants Plaintiff’s Motion for FLSA Settlement Approval. In the event the Court does not grant
            Plaintiff’s Motion for FLSA Settlement Approval, this Agreement will be null and void.

                    12.     Entire Agreement: The Parties acknowledge and agree that this Agreement
            reflects the entire agreement between the Parties regarding the subject matter herein and fully
            supersedes and replaces any and all prior agreements, contracts, promises, understandings, or
            representations, whether oral or written, express or implied, between the Parties hereto. There is
            no other agreement except as stated herein. Each Party acknowledges that the other has made no
            promises other than those contained in this Agreement.

                    13.     Severability: The Parties agree that in the event any provision(s) of this Agreement
            is judicially declared to be invalid or unenforceable, only such provision(s) shall be invalid or
            unenforceable without invalidating or rendering unenforceable the remaining provisions hereof.

                  14.    Modification and Waiver: This Agreement may not be changed, modified, or
            supplemented unless such change, modification, or supplementation is in writing and signed by



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            the Parties. No provision herein may be waived unless in writing and signed by the Party or Parties
            whose rights are thereby waived. The failure of any Party to insist on strict adherence to any term
            hereof on any occasion shall not be considered a waiver or deprive that Party of the right thereafter
            to insist upon strict adherence to that term or any other term hereof.

                    15.     Neutral Construction and Fair Meaning: Each party to this Agreement was
            represented by counsel who had the opportunity to review and participate in the drafting of this
            Agreement and, accordingly, the normal rule of construction to the effect that any ambiguities are
            to be resolved against the drafting party will not be employed or used in any interpretation or
            enforcement of this Agreement. Accordingly, the language and all parts of this Agreement shall in
            all cases be construed as a whole according to its fair meaning, and not strictly for or against any
            particular Party hereto.

                    16.    Assignment of Claims: Plaintiff hereby represents and warrants that she has not
            assigned or transferred or purported to assign or transfer to anyone any claim, action, or cause of
            action based upon, arising out of, or connected in any way with any of the matters released herein.

                    17.     Counterparts: This Agreement may be executed in counterparts, each of which
            shall serve as an original as against any Party who signed it and all of which taken together shall
            constitute one and the same documents. A copy of a Party’s signature on this Agreement shall be
            acceptable in any action against that Party to enforce this Agreement.

                   18.      Headings: The headings in this Agreement are for the convenience of the Parties
            and are not intended to modify any of the terms of this Agreement.

                    19.    Facsimile, Email, and Electronic Signatures: A facsimile or email copy of this
            Agreement will have the same force and effect as the original. The use of an electronic signature
            shall have the same validity and effect as the use of a signature affixed by hand, and the parties
            hereby waive any objection to the contrary.

                             [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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                   20.     Competence and Authority to Execute Agreement: The undersigned individuals
            hereby warrant and represent that they are fully competent and have the full authority to make the
            representations and warranties contained in this Agreement, and to execute and perform this
            Agreement, on behalf of the individuals and/or entities for which or for whom they have signed,
            and that they are acting within the scope of their authority.

            The Parties to this Agreement, with the benefit of representation and advice of counsel, have
            read the foregoing Agreement and fully understand each and every provision contained
            herein, and intend to be legally bound by its provisions. Each Party affirms that he/she/it
            freely and knowingly, after due consideration, enters into this Agreement.

            WHEREFORE, the Parties have executed this Agreement on the date shown below.

            AGREED:

                                                                                 1/12/2022
                                                                        Dated: ________________________
            MIGDALIA MARTINEZ

                                                                               1-24-2022
                                                                        Dated: ________________________
            ACHIM IMPORTING COMPANY, INC.
            By: Marton Grossman

                                                                               1-24-2022
                                                                        Dated: ________________________
            MARTON GROSSMAN




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